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8                        UNITED STATES DISTRICT COURT
9                        EASTERN DISTRICT OF CALIFORNIA
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12   UNITED STATES OF AMERICA,           CR. NO. 2:07-248-07 WBS
13                Plaintiff,             ORDER RE: MOTION FOR SENTENCE
                                         REDUCTION PURSUANT TO 18 U.S.C.
14       v.                              § 3582(c)(2)
15   MARCO GOMEZ, JR.,
16                Defendant.
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20             Before the court is defendant Marco Gomez, Jr.’s Motion

21   for sentence reduction pursuant to 18 U.S.C. § 3582(c)(2)

22   (“section 3582(c)(2)”) and Amendment 782 of the United States

23   Sentencing Guidelines.    (Def.’s Mot. (Docket No. 1452).)        The

24   government opposes defendant’s Motion.       (Gov’t Opp’n (Docket No.

25   1482).)

26             On April 4, 2011, defendant pled guilty without a plea

27   agreement to one count of conspiracy to distribute and possess

28   with intent to distribute at least fifty grams of methamphetamine
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 1   and at least five grams of cocaine in violation of 21 U.S.C. §

 2   841(a)(1) and 846, and two counts of use of a communication

 3   facility for the purpose of drug trafficking in violation of 21

 4   U.S.C. § 843(b).     (Change of Plea Hr’g Tr. (Docket No. 1130).)

 5   Defendant’s Guidelines sentencing range, based on an offense

 6   level of 36 and a criminal history category of III, was 235 to

 7   293 months in prison.     (Mem. Order & Op. May 1, 2012 at 52

 8   (Docket No. 1080.)     On May 7, 2012, the court sentenced defendant

 9   to 300 months in prison, or 7 months above the high end of the

10   Guidelines range, after finding that an upward departure was

11   appropriate.      (Docket No. 1124.)       Defendant’s appeal of his

12   sentence was subsequently denied by the Ninth Circuit.            United

13   States v. Gomez, 546 F. App’x 652 (9th Cir. Dec. 20, 2013), cert.

14   denied, 134 S. Ct. 1525 (2014).

15               Defendant now seeks to reduce his sentence to 242

16   months pursuant to section 3582(c)(2) and Amendment 782, or 7

17   months above the high end of the adjusted Guidelines range.

18   (Def.’s Mot. at 1-2.)     Section 3582(c)(2) allows a federal court

19   to “modify a term of imprisonment” where “a defendant [was]

20   sentenced . . . based on a sentencing range that has subsequently
21   been lowered by the [United States] Sentencing Commission.”            18

22   U.S.C. § 3582(c)(2).     The United States Supreme Court held in

23   Dillon v. United States, 560 U.S. 817 (2010) that section

24   3582(c)(2) involves “a two-step inquiry.”          Id. at 826.    “A court

25   must first determine that a reduction is consistent with [the

26   policies set forth in] § 1B1.10” of the Guidelines (“section
27   1B1.10”).   Id.    “At step two of the inquiry, § 3582(c)(2)

28   instructs a court to consider any applicable § 3553(a) factors
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 1   and determine whether, in its discretion, the reduction

 2   authorized by reference to the policies relevant at step one is

 3   warranted in whole or in part under the particular circumstances

 4   of the case.”     Id. at 827.

 5              With respect to step one, the government concedes that

 6   Amendment 782 reduced defendant’s Guidelines sentencing range to

 7   188 to 235 months and that a sentence reduction would be

 8   consistent with section 1B1.10.      (Gov’t Opp’n at 3.)

 9              With respect to step two, however, the government asks

10   that the court exercise its discretion to deny defendant’s

11   Motion, noting that defendant: (1) participated in a drug

12   conspiracy that trafficked in massive quantities of drugs and was

13   specifically responsible for distributing at least 16 pounds of

14   methamphetamine and at least 3.5 kilograms of cocaine, (2)

15   functioned as a “regimental commander” for about two years with

16   authority over about 15 regiment members, (3) and as found by the

17   court at sentencing, was involved with other quantities of drugs

18   as well.   (Gov’t Opp’n 3-5.)

19              Having gone back and reviewed all of the considerations

20   taken into account in imposing the original sentence,
21   notwithstanding the change in the guidelines, the court does not

22   find that a reduction of defendant’s sentence would be consistent

23   with the other relevant sentencing factors which must be

24   considered.     Accordingly, the court agrees that a sentence

25   reduction is not warranted under step two of Dillon.

26   Accordingly, the court will deny defendant’s Motion.
27              IT IS THEREFORE ORDERED that defendant’s Motion for

28   sentence reduction pursuant to § 3582(c)(2) (Docket No. 1452) be,
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 1   and the same hereby is, DENIED.

 2   Dated:   May 17, 2017

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